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10542 | SRM/LLS/MES/sr

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
PAUL RYERSON, )
)
Plaintiff, ) DOCKETED
)
VS. ) Court No. 01 C 5826 OCT 2 2002
)
VILLAGE OF MELROSE PARK ). Judge Holderman
a municipal corporation, VITO SCAVO, )
in his individual capacity, and MIGUEL ) Magistrate Judge Keys
GALINDO )
)
Defendant, ) F | L E D
NOTICE OF FILING "CT 0 2 209
TO: Edward T. Stein Miguel Galindo Oey TARE yw. Sox
Law Office of Edward T. Stein 228 Maplewood G, disrAig pS
200 South Michigan Ave. Northlake, IL 60164 Couar
Suite 1240

Chicago, IL 60604

PLEASE TAKE NOTICE that we have on this day filed with in the United States District
Court for the Northern District of Illinois, Eastern Division, JOINT STATUS REPORT. A true
and correct copy of same is attached hereto and hereby served upon you.

DATED: October 1, 2002

 
   

» MILLER, STANDA &

Stephen R. Miller (6182908)

Laura L. Scarry (6231266)

Mary E. Spring (6270659)

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Case: 1:01-cv-05826 Document #: 27 Filed: 10/01/02 Page 2 of 5 PagelD #:78

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CERTIFICATE OF SERVICE

I, Sandy Rezman, a non-attorney, certify that a copy of Joint Status Report was served upon
the attorneys of record and parties by mailing a copy thereof to each person to whom it is directed
at the address(es) stated by depositing same in the United States Mail chute with proper postage
prepaid at 111 West Washington Street, Suite 1247, Chicago, IL, at or before 5:00 p.m. on October
1, 2002.

 

SUBSCRIBED and SWORN to before me
this 1st day of October 2002

SSSSSSI
"OFFICIAL. SEAL” ;
BEVERLY C. ASHTON ,

: Notary Public, State of illinois
% My Commission Expires 06/18/03

 

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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
PAUL RYERSON, )
_— DOCKE TFD
Plaintiff, ) 0
y No. 01 C5826 CT 2 2002
v. )
} Judge St. Eve
VILLAGE OF MELROSE PARK, ) F
amunicipal corporation, VITO SCAVO, +) / L E
in his individual capacity, and MIGUEL ) Mapistrate Judge Keys D
GALINDO, ) Ocr
) 01 2097
Defendants. ) Cue mace AEL yy
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Joint Status Report ‘s. Bier NS
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A. Nature of the Case

This is a federal civil rights case, with supplemental state claims. Therefore, jurisdiction
of this Court is provided by 28 U.S.C. §§ 1331, 1343, and 1367.

Plaintiff Paul Ryerson, a former Melrose Park Police Officer, brought this action for
deprivation of property without due process of law, deprivation of liberty without due process of
law, recission of resignation, malicious prosecution, breach of contract, and defamation.

Plaintiff seeks reinstatement; compensatory damages in excess of $50,000.00; punitive
damages against Defendants Scavo and Galindo; back pay of $7,500 per year; lost present and
future benefits; front pay of $7,500 per year until mid-2015 (when he would have retired);
attorney’s fees and costs; and such other relief as law and justice allow.

Defendants Village of Melrose Park and Vito Scavo deny engaging in any wrongful act.

All parties have been served. Default judgment has been entered against Miguel Galindo.
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The principal issues are whether Plaintiff voluntarily resigned from the Melrose Park
Police Department, or whether he was coerced into resigning; whether Defendants damaged
Plaintiff's reputation; whether Defendants agreed not to seek prosecution of Plaintiff; whether
Defendants caused Plaintiff to be prosecuted; whether Defendants caused Plaintiff's damages;
and to what extent Plaintiff has been damaged by Defendants.
B. Discovery Issues

The parties have responded to written discovery. Plaintiff and his wife have been
deposed. Defendant Scavo’s deposition was commenced and will be continued, Additional
depositions remain to be taken. Discovery closes on October 30, 2002.

Plaintiffs supplemental motion to quash subpoenas to Plaintiff's doctors is pending.

Plaintiff's treating physicians have yet to be deposed.
C Trial Status

A jury has been requested. The trial is expected to Jast 3-5 days.
D. Settlement Status

No settlement discussions have been held. This case has been referred to the magistrate
for settlement. He has scheduled a settlement conference for October 18, 2002 at 1:30 p.m.

Respectfully submitted,

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Kamran Memon for Plaintiff

Atawad

Laura Scarry for Village and Scav

 

 
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Date: October 1, 2002

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ATTORNEY FOR PLAINTIFF
